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                              UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


GLOBAL PROCUREMENT                              ) CASE NUMBER: 6:22-cv-01611
SOLUTION, INC., and                             )
CHARLES FOWLER,                                 )
                                                ))
          Plaintiffs,
          Plaintiffs,                           ))
                                                ))
v.                                              ))
                                                ))
ANGELA DUBIS,                                   ))
                                                ))
          Defendant.                            ))
                                                ))
                                                ))

                         PLAINTIFFS’ UNOPPOSED MOTION FOR
                         PLAINTIFFS'
                    SPECIAL ADMISSION OF BENJAMIN E. NICHOLSON, V

              Pursuant to Local Rule 2.01(c), Benjamin E. Nicholson, V, Esquire, respectfully

moves for special admission to represent Global Procurement Solutions, Inc. and Charles

                     “Plaintiffs”) in this action. Mr. Nicholson certifies that:
Fowler (collectively "Plaintiffs")

              1.    I am neither a Florida resident nor a member in good standing of The

 Florida Bar.

              2.           member in
                    I am a member in good
                                     good standing
                                          standing of
                                                   of a
                                                      a bar of a
                                                        bar of a United
                                                                 United States
                                                                        States district
                                                                               district court;
                                                                                        court;

 specifically, the
 specifically, the District
                   District of
                            of South
                               South Carolina.
                                     Carolina.

              3.
              3.    II have
                       have not
                            not abused
                                abused the
                                       the privilege
                                           privilege of
                                                     of special
                                                        special admission by maintaining a

 regular law practice in Florida. In the
                                     the last
                                         last thirty-six
                                              thirty-six months,
                                                         months, II have
                                                                    have not
                                                                         not appeared
                                                                             appeared in
                                                                                      in any
                                                                                         any

 cases in
 cases in a
          a state
            state or
                  or Federal
                     Federal court
                             court in
                                   in Florida.

              4.    I will comply with federal rules
                                               rules and
                                                     and this
                                                         this Court's
                                                              Court’s local
                                                                      local rules.
                                                                            rules.

              5.
              5.    II am
                       am familiar
                          familiar with
                                   with 28
                                        28 U.S.C.
                                           U.S.C. §
                                                  § 1927,
                                                    1927, which
                                                          which provides:
                                                                provides:

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                   Any attorney or other person admitted to conduct
                   cases in any court of the United States or any Territory
                   thereof who so multiplies the proceedings in any case
                   unreasonably and vexatiously may be required by the
                   court to satisfy personally the excess costs, expenses,
                        attorneys’ fees reasonably incurred because of
                   and attorneys'
                   such conduct.

              6.   I will pay the $150 fee upon special admission.

          7.
          7.       II will
                      will register
                           register with
                                    with the
                                         the Court's
                                             Court’s CM/ECF
                                                     CM/ECF system.
                                                            system. Sheena
                                                                    Sheena Thakrar, Co-
                                                                           Thakrar, Co-

Counsel for the Plaintiffs, has filed this motion in the CM/ECF system on my behalf.

              8.   I affirm the oath, which states:

          I will support the Constitution of the United States. I will bear true faith

          Respectfully submitted this 28th day of November, 2022.

                                            /s/ Benjamin E. Nicholson, V
                                           Is/                         V
                                            Benjamin E. Nicholson, V (SC Bar # 10137)
                                           BURR & FORMAN LLP
                                            1221 Main St., Suite 1800 (29201)
                                           P.O. Box 11390 (29211)
                                            Columbia, South Carolina
                                           Email: nnicholson@burr.com
                                            Telephone: (803) 799-9800


                             LOCAL RULE 3.01(g) CERTIFICATION

          Pursuant to Local Rule 3.01(g), the undersigned certifies that counsel for Plaintiffs

conferred with counsel for Defendant on November 23, 2022. Counsel for Defendant

stated that she does not oppose the relief sought herein.


                                            /s/ Benjamin E. Nicholson, V
                                           Is/                         V




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                               CERTIFICATE OF SERVICE

                                                    November, 2022,
          I HEREBY CERTIFY that on this 28th day of November, 2022, a
                                                                    a true
                                                                      true and
                                                                           and correct
                                                                               correct

copy of the foregoing was filed via the CM/ECF system, which will provide electronic

notice of
notice of the
          the filing
              filing to
                     to counsel
                        counsel of
                                of record
                                   record for
                                          for the
                                              the Defendant,
                                                  Defendant, Jamie L. White, Esquire, Spire
                                                             Jamie L.

Law, 572
Law,     W State
     572 W       Road 426,
           State Road 426, Suite
                           Suite 2088,
                                 2088, Oviedo,
                                       Oviedo, FL
                                               FL 32765.
                                                  32765.



                                      /s/ Sheena
                                      /s/ Sheena A. Thakrar
                                                      Thakrar
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                                      Counsel for Plaintiffs
                                      Counsel




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